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                EXHIBIT C
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        COPYRIGHT COUNCIL                                                                  STATEMENT 2018:12




       Thing            Copyright protection of 3D animations and animated character

        Applicant B

       Issued on 18 December 2018

        Summary


                        The five 3D animation videos referred to in the request for an opinion were film works
                        in accordance with the Copyright Act. Just an abstract figure
                        did not receive copyright protection as such. Its concrete forms of implementation, on
                        the other hand, enjoy protection.



        STATEMENT REQUEST

           1.         B (the applicant) has requested the Copyright Council's opinion on the copyright
                      protection of five short cartoon videos realized as 3D computer animation and the
                      copyright protection of a 3D animated character. He has created a character named Trevi
                      Tyger and five 3D animations called TreviTyger RockKat, TreviTyger Dance An-vil,
                      TreviTyger Dance Jelly, TreviTyger Inflatable and TreviTyger Flamethrower, which he
                      has attached to his request for a statement, as well as a handbook that provides
                      information on how the character was created.



           2.         The applicant has requested that the Copyright Council confirm his rights to the mentioned
                      works and confirm that he has exclusive rights to use the works in any way he wishes. In
                      addition, he has requested that the logo and the TreviTyger figure be considered as objects
                      receiving trademark legal protection, if this falls under the jurisdiction of the Copyright
                      Council.




        STATEMENT OF THE COPYRIGHT BOARD

           3.         According to Section 55 of the Copyright Act (404/61), the Copyright Council issues
                      statements on the application of the Copyright Act. The nature of these statements is
                      non-binding.

           4.         The person who has created a literary or artistic work has copyright to the work according
                      to Section 1 of the Copyright Act (TekijäL, 404/1961).
                      The section contains an example list of the types of works that receive copyright
                      protection. For example, fiction and explanatory




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                      written and oral presentations, compositions, film works and photographic works and other
                       visual art works. Copyright protects both the work as a whole and that part of the work that,
                       viewed separately from the rest of the work, can be considered the original result of the
                       author's creative work.



           5.          In its decision C-145/10 (Painer) issued on December 1, 2011, the Court of Justice of the
                      European Union considered that a work can receive copyright protection if it is the result of
                      the author's intellectual creative work in such a way that it reflects the author's personality
                      and shows the author's free and creative responsibilities castles in the making. The task of
                      the national court is to decide once and for all whether the act threshold has been exceeded.



           6.          The content of copyright is regulated in Section 2 and Section 3 of the Copyright Act. The
                       economic rights of the author are regulated in Section 2 of the Copyright Act. According to
                      it, copyright produces, with the restrictions stipulated in Chapter 2 of the Copyright Act, the
                      exclusive right to dispose of the work by making copies of it and making it available to the
                       public unaltered or altered, as a translation or variation, in another literary or artistic genre,
                       or using another method of creation. According to section 2 subsection 3 of the Copyright
                       Act, a work is made available to the public when it is performed publicly or when



                       a copy of it is offered for sale, rent or loan or is otherwise distributed to the public or publicly
                       displayed. According to Section 2, subsection 2 of the Copyright Act, making a copy is also
                      considered to be the transfer of the work to a device that can be used to reproduce it.




                7. The author's moral rights are stipulated in Section 3 of the Copyright Act. According to it, the
                       author's name must be indicated in accordance with good practice when copies are made
                       of the work or the work is made available to the public in whole or in part. In addition, the
                       regulation prohibits changing the work in a way that offends the author's literary or artistic
                       value, or making the work available to the public in an offensive form or context.




        Copyright protection of 3D animations and character


                8. According to Article 2 of the Berne Convention, literary and artistic works receive copyright
                       protection. This expression includes, among other things, film works, to which works
                       expressed in a way comparable to filming are equated. According to the explanatory work
                      of the Berne Convention, "in a manner comparable to filmmaking" refers not so much to the
                      method of production of the work, but to the form of the resulting work, which is analogous to
                      film. Therefore, the production method of a work that receives protection as a film does not
                       have to be filming




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                   analogous to. (Guide to the Bern Convention, WIPO 1978, p. 15).



             9. It appears from the explanatory work that the concept of film must be understood quite broadly.
                   It covers all cinematographic works and works expressed in a way comparable to filming,
                   regardless of their type, length, production method, technical process used, purpose or
                   creator. (Guide to the Bern Convention, WIPO 1978, p. 15 - 16) In the edition revised in
                   2003, it is stated that film works are referred to in newer international and national standards
                    and legal literature as "audiovisual works". However, this expression is not completely
                   accurate in all cases, as exclusively visual works - without audio or sound elements - are
                   also considered to belong to this category.




             10. The concept of a film work has also been considered in the proposals of the Copyright Act.
                   The copyright committee stated in its V part report that, in the copyright sense, works made
                   of moving images or moving images and sound, as well as other works expressed in a
                   manner comparable to cinematography, which exceed the threshold of copyright work, are
                   considered to be cinematographic works. In addition to traditional films recorded on film,
                   this definition covers, among other things, works broadcast on television, works recorded on
                   video recordings and other works produced by cinematic means. In its report, the Copyright
                   Committee did not specify what is meant by works produced by cinematic means. (Committee
                   report 1990:31: Copying and distribution of audio recordings and audiovisual works, p. 31)




             11. In addition to the previous one, the Copyright Committee's VI partial report stated the following
                   about film works: "It is not necessary that the images in a film work be Figurative or that
                   they form a sequence of images that are connected to each other when presented
                   consecutively. Since most works of video art consist of moving images, they generally belong
                   to the group of film works. In borderline cases, whether video works belong to a certain
                   category must be resolved case by case."


                   (Committee report 1991:33: Fine art and copyright, p. 55).


             12. In Directive 2006/115 on EC rental and lending rights and certain rights related to copyright in
                    the field of intellectual property, the term "film" means a film with or without sound or an
                   audiovisual work or a moving image (Article 2, paragraph 1 of the directive).




             13. Animation is a technique in which a film is realized frame by frame, by shooting images with
                   small changes. Along with the traditional drawing and the depiction of changing the physical
                   model, animations realized with 3D graphics are also considered movies.




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             14. In order to receive protection under copyright law, a film must be an original result of the
                   creator's creative expression. In the legal literature, it has been considered that the concept
                   of a film work protected by copyright today covers the majority of recordings made with
                   cinematic methods, the appearance of which is at least somewhat original.


                   In literature, Salokannel has considered that "[…] it is impossible to set absolutely clear
                   criteria and the creative contribution contained in each work must be examined on a case-by-
                   case basis". In addition to this, he has stated that "[a] unique treatment of the subject and
                   the organization of the content around a unified plot is sufficient usually to make the film into
                   a te-copyrighted work." (Marjut Salokannel, Häviävät kinomu taitit, Helsinki 1990, p. 21). In
                   the legal literature, it has been established that one cannot speak of a film work when the
                   film is created automatically when the camera captures, for example, all the customers
                    visiting the bank hall. (Haarmann, Pirkko-Liisa: Copyright & related rights, p. 64)




             15. The Copyright Council has dealt with the protection of film works, for example, in its statements
                    1995:9, 1998:6, 2001:15 and 2002:16. Lausun-no 1995:9 was about a video recording,
                   which consisted of recordings of the speeches of people who participated in a congress and
                   the parts between the lectures of the lecturers, which included shots of, for example,
                   landscapes, old archival films and photographs. The video also included plenty of music.
                   The Copyright Council considered that the video recording in question was a cinematographic
                    work. Statement 1998:6 also dealt with the copyright protection of video recordings. The
                   recordings included, for example, a documentary program on the history of icebreakers,
                   concert recordings and a kantele playing lesson. The Copyright Council considered that all
                   the video recordings referred to in the request for an opinion could be considered as
                    cinematographic works as a whole.




             16. Statement 2001:15 dealt with the individual case without addressing the concept of film work
                   more broadly. Statement 2002:16 was primarily about the right of quotation, but the three-
                    minute long documentary film included in the material received protection as a film work. In
                   statements TN 2015:7 and 8, the borrowing of computer games containing moving images
                   without the copyright holder's permission was allowed because the games as a whole were
                   not to be considered film works.




             17. The Copyright Council has dealt with the copyright protection of cartoon characters, among
                   other things, in its decision TN 2006:16. It stated that the copyright law as such does not
                   provide protection for drawings, but for real-life drawings. If someone copies another drawing
                    or if the new drawing must be considered a modification of the original so that it does not
                   enjoy the independent copyright protection offered to the work, the use of such a drawing
                   must be agreed upon initially




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                    with the copyright holder of the sketch. In the statement TN 1986:8, it was stated that the
                    script and the film produced based on it, in which "The man portraying Villjoa" appeared,
                    were works protected by copyright. Instead, using the character detached from the work
                    was essentially using the idea presented in the work, and the character was not protected
                    by copyright. In the statement TN 1993:25, the characters of Ohukainen and Paksukai-sen
                    appearing in some film works were visually judged not to be so independent and original that
                    they would have been protected by copyright.




        Conclusions on copyright protection of cinematographic works and characters

             18. The five 3D computer animations Trevi-Tyger RockKat, TreviTyger Dance Anvil, TreviTyger
                    Dance Jelly,
                    TreviTyger Inflatable and TreviTyger Flamethrower are all less than a minute long, telling
                    about the origins of the TreviTyger character.



             19. In the animations in question now, the animations in question are not, for example, the duration
                    of the animation, the professional level of content production evident from the video, or the
                    quality of the image. The artistic quality or content of the animations are also not central
                    criteria in terms of the work threshold.



             20. The crucial thing is that all five animations reflect the author's personality and show the author's
                    free and creative choices when making the work. The concrete, animated appearance of
                    the character with its surroundings and the events in the animation embody these creative
                    choices and their concrete implementation. The Copyright Council considers that all five
                    animations are therefore cinematographic works in accordance with Section 1 of the
                   Copyright Act. Copyright gives, among other things, the exclusive right to dispose of the work
                    by making copies of it and making it available to the public, unaltered or altered, as mentioned
                    above in section six, subject to the limitations set out in the law.




             21. The mere abstract TreviTyger figure as such is not a copyrightable work. On the other hand,
                    TreviTyger's concrete implementations, whether they are traditional or 3D graphics, and the
                    animations are as a whole so independent and original and their expression reflects the
                    author's personality to such an extent that they can cross the threshold of works.




             22. Within the scope of its statutory mandate, the Copyright Council does not investigate the forms
                    of protection included in other laws, such as the Trademark Act.




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                    Chairman                              Marcus Norrgard




                    Secretary                             Perttu Virtanen




                    The statement has been discussed at the plenary session of the Copyright Council.
                    Marcus Norrgård (chairman), Ulla-Maija Mylly, Rosa Maria Ballardini, Lottaliina
                    Pokkinen, Sanna Nikula, Aku Toivonen, Antti Kotilainen, Martti Kivistö, Ismo
                    Huhtanen, Timo En-roth, Maria Rehbinder, Tuula Hämäläinen and Asko Metsola.




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